433 F.2d 363
    UNITED STATES of America, Plaintiff-Appellee,v.Worthy Curt POGUE, Defendant-Appellant.
    No. 29926 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    November 9, 1970.
    
      Appeal from the United States District Court for the Middle District of Alabama; Virgil Pittman, District Judge.
      Radney &amp; Morris, Tom Radney, Alexander City, Ala., for defendant-appellant.
      Ira De Ment, U. S. Atty., D. Broward Segrest, Asst. U. S. Atty., Montgomery, Ala., for plaintiff-appellee.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    
      1
      Affirmed. See Local Rule 21.1 See also Brown v. United States, 5 Cir., 1968, 401 F.2d 769; Anderson v. United States, 5 Cir., 1968, 403 F.2d 206; Shoffeitt v. United States, 5 Cir., 1968, 403 F.2d 991, cert. denied, 393 U.S. 1084, 89 S.Ct. 868, 21 L.Ed.2d 777 (1969).
    
    
      
        Notes:
      
      
        *
         Rule 18, 5th Cir.,See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York, et al., 5 Cir., 1970, 431 F.2d 409, Part I.
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966.
      
    
    